Case 1: 04- -C\/- -01154- .]DT- STA Document 105 Filed 06/22/05 Page f4 Page|D 74
IN THE UNITED STATES DISTRICT COURT

FoR THE WESTERN DISTRICT 0F TENNESS§F 09 > g
EASTERN DIvIsIoN WZ,

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RBP, LLC,

Plaintiff,

 

vs. No.= 04-1154-T-An ry

GENUINE PARTS COMPANY and
INDIANA INSURANCE COMPANY,

\-H\_/\_/\_/\_/\_/\_F\-./\./W

Defendants.

GENUINE PARTS COMPANY, )
)

Third-Party Plaintiff, )

)

vS. )
)

ALLIANZ GLOBAL RISKS U.S. )
INSURANCE COMPANY and )
LEXINGTON INSURANCE )
COMPANY, )
)

)

Third-Party Defendants.

 

ORDER GRANTING PLAINTIFF’S THIRD MOTION TO AMEND

 

Before the Court is Plaintiff’s Third Motion to Amend filed on May 26, 2005.

Defendants failed to file a response to the motion as required by Local Rule 7.2(a)(2).
“Failure to timely respond to any motion, other than one requesting dismissal of a claim or
action, may be deemed good grounds for granting the motion.” Local Rule 7.2(a)(2). As such,
the motion is Well taken and the Plaintiff’s Motion is GRANTED. Plaintiff is directed to file

with the Clerk of the Court its Second Amendment to its Amended Complaint and serve same

This document entered on the docket sheetil:§)3 corn |Cn
with Hule 58 and,' or 79 (a) )FHCP on 1 6

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upon the respective Defendants Within ten days from the date of entry of this Order.
IT IS SO ORDERED.

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S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Date: gail ZZ,, ZOD)/

 

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 105 in
case 1:04-CV-01154 Was distributed by faX, mail, or direct printing on
June 23, 2005 to the parties listed.

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